Case 3:17-cv-00072-NKM-JCH Document 791 Filed 07/01/20 Page 1 of 2 Pageid#: 11556
                                                           CLERKS OFFICE U.S. DIST. COURT
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